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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                            GALVESTON DIVISION

Seabulk Challenge LLC,                   §
and Seabulk Tankers Inc.                 §
      Plaintiffs,                        §
                                         §
AND                                      §
                                         §              C.A. No. 3:22-cv-00089
AdvanSix Inc.                            §
      Intervenor-Plaintiff,              §                 Fed. R. Civ. P. 9(h)
                                         §
vs.                                      §                     Admiralty
                                         §
LPG/C GASCHEM NORDSEE, her               §
equipment, engines, tackle, apparel, and §
appurtenances, in rem, et al.            §
      Defendants.                        §

       ADVANSIX INC.’S ORIGINAL COMPLAINT-IN-INTERVENTION

      INTERVENOR AdvanSix Inc. (“AdvanSix”) files this Complaint-in-Intervention

under Federal Rule of Civil Procedure 24, and would respectfully show as follows:

                                          I.
                                       PARTIES

      1.1    Plaintiffs Seabulk Challenge LLC and Seabulk Tankers Inc. (collectively

“SEABULK CHALLENGE Interests”) are the owners and operators of the M/T

SEABULK CHALLENGE (IMO 7816551).

      1.2    Intervenor-Plaintiff AdvanSix Inc. is a corporation organized and existing

under the laws of the State of Delaware with an office and its principal place of business

located at 300 Kimball Dr, Parsippany-Troy Hills, New Jersey 07054. At all relevant

times, AdvanSix was the time charterer of the M/T SEABULK CHALLENGE (IMO
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7816551) under a SHELLTIME 4 time charter agreement (“Charterparty”) with Seabulk

Challenge LLC dated October 27, 2020, attached as Exhibit A.

       1.3       Defendant Harpain Shipping GmbH (“Harpain”), in personam, is a

company organized under the laws of Germany and at all material times was the

commercial operator of the LPG/C GASCHEM NORDSEE (IMO 9402562) and may be

served via the Texas Secretary of State’s Office and/or via the Hague Convention on the

Service Abroad of Judicial and Extrajudicial Documents in Civil or Commercial

Matters. 1

       1.4       Defendant Erste Beteilgungs Kommandtgesellschaft Tim Shipping mbH &

Company (“Erste”), in personam, is a company organized under the laws of Germany and

at all material times was the registered owner of the LPG/C GASCHEM NORDSEE

(IMO 9402562). Erste has appeared in this action and may be served by its counsel of

record. 2

       1.5       Defendant Harpaingas GmbH & Company KG (“Harpaingas”), in

personam, is a company organized under the laws of Germany and at all material times

was the technical manager of the LPG/C GASCHEM NORDSEE (IMO 9402562).

Harpaingas has appeared in this action and may be served via its counsel of record. 3

       1.6       Defendant GasChem Services GmbH & Company KG (“GasChem”), in

personam, is a company organized under the laws of Germany and at all material times

was the operator of the LPG/C GASCHEM NORSEE (IMO 9402562) and may be served


1
       Harpain has not yet appeared, nor has a summons been requested or issued.
2
       Erste has appeared and filed an answer (Doc. 9).
3
       Harpaingas has appeared and filed an answer (Doc. 9).

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via the Texas Secretary of State’s Office and/or via the Hague Convention on the Service

Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters. 4

        1.7      Defendant LPG/C GASCHEM NORDSEE (IMO 9402562), in rem, is a

liquified petroleum gas carrier that is operated, managed, and owned by defendants listed

in paragraphs 1.3-16, supra (collectively “GASCHEM NORDSEE Interests). A Letter of

Undertaking (“LOU”) has been issued by GASCHEM NORDSEE Interests’ insurers in

favor of AdvanSix, which LOU obligates an in rem appearance of GASCHEM

NORDSEE in this matter.

                                            II.
                                  VENUE AND JURISDICTION

        2.1      This Court has subject matter jurisdiction over this action under 28 U.S.C.

§ 1333.

        2.2      Venue is proper in this District under 28 U.S.C. § 1391 because a

substantial part of the events or omissions underlying this action occurred in this District.

        2.3      Intervening-Plaintiff’s claims are properly pled under FED. R. CIV. P. 24(b).

                                          III.
                             FACTS & INTERVENOR’S CLAIMS

A.      The Charterparty

        3.1      Prior to the occurrence of this casualty, the M/T SEABULK CHALLENGE

(IMO 7816551) was and is a 1981 built United States-flagged oil and chemical tanker of

29,832 gross tons, owned and operated by Seabulk Challenge LLC and Seabulk Tankers

Inc.


4
        A summons has been issued for GasChem (Doc. 4) but they have not yet appeared.

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       3.2       Pursuant to the Charterparty, the M/T SEABULK CHALLENGE was

delivered to AdvanSix on or about June 15, 2021, for a charter period of 2 years and 10

months.

       3.3       AdvanSix is a vertically integrated manufacturer of chemical products and

routinely charters vessels like the M/T SEABULK CHALLENGE to carry its cargoes

between locations in the United States and the rest of the world.

       3.4       The Charterparty contains various provisions including a New Jason

Clause 5 which provides in relevant part:

                 In the event of accident, danger, damage or disaster before or
                 after the commencement of the voyage, resulting from any
                 cause whatsoever, whether due to negligence or not, for
                 which, or for the consequence of which, the carrier is not
                 responsible by statute, contract or otherwise, the cargo,
                 shippers, consignees or owners of the cargo shall contribute
                 with the carrier in general average to the payment of any
                 sacrifices, losses or expenses of a general average nature that
                 may be made or incurred and shall pay salvage and special
                 charges incurred in respect of the cargo.

See Exhibit A § 37.

       3.5       The Charterparty also contains an Unplanned Offhire clause which

provides:

                 In the event the Vessel encounters an unplanned off hire event
                 that is expected to last in excess of twenty-five (25) days and
                 the Owner is unable to provide short term coverage after ten
                 (10) consecutive days of off hire and the Charterer is required
                 to complete a spot voyage at the then prevailing market rates
                 thereafter, then the Owner will reimburse the Charterer for
                 document spot voyage costs less the daily Rate of Hire under
                 this Charter and fuel and port charges for actual spot voyage

5
       According to the Fifth Circuit, the purpose of a Jason clause is “to spread the risks among all participants in
       the venture.” Amoco Transp. Co. v. S/S Mason Lykes, 768 F.2d 659, 668, fn. 11 (5th Cir. 1985).

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                 days. Charterer shall be allowed to perform a maximum of
                 one (1) full round trip voyage, and if off hire extends to thirty
                 five (35) days, then Charterers will be allowed a second (2nd)
                 full round trip voyage Owners’ cumulative net obligation for
                 such reimbursement shall be capped at $1,500,000 for the
                 term of the Charter.

See Exhibit A § 9 (SHELLTIME 4 Additional Clauses).

B.     The Allision

       3.6       On March 11, 2022, around 1840 hours the M/T SEABULK CHALLENGE

was berthed at Galveston’s Pier No. 16 along the Galveston Ship Channel, when the

LPG/C GASCHEM NORDSEE allided with her port stern quarter. 6




       3.7       At the time of the allision, she was under charter to AdvanSix, carrying

AdvanSix’s cargo, and loading more cargo of cumene from a barge on her port side



6
       See Coast Guard investigates collision in Galveston channel, GALVESTON COUNTY DAILY NEWS, dated
       March 14, 2022 available at https://www.galvnews.com/news/police/free/article_976a67db-a665-5eec-
       9cbb-d9ff57c6caa7.html (last accessed July 12, 2022).

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       3.8       The allision parted several mooring lines and damaged the M/T SEABULK

CHALLENGE’s port stern quarter and starboard side gangway.

       3.9       Following the allision, the M/T SEABULK CHALLENGE needed repairs,

and AdvanSix placed the vessel off-hire under clause 21(a)(i) of the Charterparty:

                 (a) On each and every occasion that there is a loss of time
                 (whether by way of interruption in the vessel’s service or,
                 from reduction in the vessel’s performance, or in any other
                 manner); (i) Due to deficiency of personnel or stores; repairs;
                 gas-freeing for repairs; time in and waiting to enter dry dock
                 for repairs; breakdown (whether partial or total) of machinery,
                 boilers or other parts of the vessel or her equipment
                 (including without limitation tank coatings); overhaul,
                 maintenance or survey; collision, stranding, accident or
                 damage to the vessel; stowaway or any other similar cause
                 preventing the efficient working of the vessel; and such loss
                 continues for more than five (5) consecutive hours (if
                 resulting from interruption in the vessel’s service) or
                 cumulates to more than five (5) hours (if resulting from
                 partial loss of service from the same cause);

See Exhibit A § 21.

C.     The Damages

       3.10      As a result of the allision, AdvanSix incurred various expenses 7 totaling at

least $6,200,000, including, but not limited to,:

       •         Barge costs to transfer cargo from the SEABULK CHALLENGE to
                 the OVERSEAS HOUSTON, and also to lift cargo from terminals as
                 per contractual obligations:

       •         Spot Charter of OVERSEAS HOUSTON for substitute voyage and
                 related costs;

       •         Spot Charter of PETROCHEM TRADER and related costs for the
                 return voyage;

7
       The supporting documentation for these costs and damages have been produced to all parties pursuant to a
       confidentiality agreement and are not attached as exhibits.

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       •         Spot Charter of PETROCHEM PRODUCER to load balance of
                 SEABULK CHALLENGE cargo;

       •         Cost of “cover cargo” to fulfill contractual obligations with
                 customers.

D.     Claims

       3.11      Under General Maritime Law, the GASCHEM NORDSEE Interests owed

AdvanSix and the SEABULK CHALLENGE Interests a duty to observe the standards of

good and prudent seamanship, and a duty to exercise ordinary and reasonable care while

operating in the Galveston Ship Channel.

       3.12      Additionally, the GASCHEM NORDSEE Interests had the statutory duty to

follow the Inland Navigation Rules and the United States Coast Guard Regulations while

navigating the Galveston Ship Channel so as to minimize the risk of allision.

       3.13      The GASCHEM NORDSEE Interests breached these duties through the

following instances of negligence, negligence per se, gross negligence, and/or

recklessness:

                 a)    The unseaworthy condition of the LPG/C GASCHEM NORDSEE;

                 b)    Failure to navigate, steer, and control LPG/C GASCHEM
                       NORDSEE properly and in accordance with the applicable rules of
                       navigation and/or industry customs;

                 c)    Carelessly navigating LPG/C GASCHEM NORDSEE without
                       heeding all forces to be considered by a competent navigator;

                 d)    Failure to properly supervise LPG/C GASCHEM NORDSEE’s
                       crew;

                 e)    Failure to properly train their employees and/or LPG/C GASCHEM
                       NORDSEE’s crew;

                 f)    Operating LPG/C GASCHEM NORDSEE with an inadequate crew;


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                 g)    Failure to take reasonable action to prevent or minimize the events
                       that precipitated the allision;

                 h)    Failure to operate LPG/C GASCHEM NORDSEE with ordinary and
                       reasonable care;

                 i)    Negligently implementing or failing to implement policies and
                       procedures appropriate to conduct maritime operations safely;

                 j)    Violating U.S. Coast Guard, IMO, and/or other applicable
                       regulations intended to prevent allisions; and

                 k)    Other acts or omissions deemed negligent, grossly negligent,
                       negligent per se, and/or reckless to be shown at trial.

       3.14      The GASCHEM NORDSEE Interests were negligent in operating,

manning, training, and/or controlling LPG/C GASCHEM NORDSEE. Moreover, the

captain, pilot, and/or crew of LPG/C GASCHEM NORDSEE were negligent in LPG/C

GASCHEM NORDSEE’s navigation before and at the time of this incident, and such

negligence caused the allision and the related damages to Advansix arising from the

allision. Such negligence was the proximate cause of the allision and the related damages

arising from the allision.

                                             IV.
                                           PRAYER

       WHEREFORE, AdvanSix prays:

       (1)       That due process in the form of law, according to the course and practice of
                 this Honorable Court in causes of admiralty and maritime jurisdiction
                 within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure,
                 issue against the GASCHEM NORDSEE Interests, citing them to appear
                 and answer the foregoing, failing which a default will be taken against them
                 for the principal amount of the claim, plus interest, costs, and attorney’s
                 fees;

       (2)       That Intervening-Plaintiff Advansix have judgment entered in its favor
                 against the GASCHEM NORDSEE Interests on the cause of action
                 specified for the amount of Advansix’s damages, to be proven at trial,

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                 together with interests, costs, and disbursements of this action and
                 attorney’s fees;

       (3)       That the Court grant such other, further, and different relief as the Court
                 deems just and proper.

                                          Respectfully submitted,

                                           /s/ Kevin P. Walters
                                          Kevin P. Walters
                                          Texas State Bar No. 20818000
                                          Federal I.D. No. 5649
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                                          ATTORNEYS FOR INTERVENOR
                                          PLAINTIFF ADVANSIX INC.

                               CERTIFICATE OF SERVICE

      I hereby certify that on the 26th day of August, 2022, I served a true and correct
copy of the foregoing via electronic mail, facsimile transmission, personal delivery,
and/or by placing a copy of same in the U.S. mail, postage prepaid and properly
addressed on the following known counsel of record:


                                                    /s/ Kevin P. Walters
                                                   Kevin P. Walters




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                                                            EXHIBIT
                                                                 A
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